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ATTACHMENT S
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United States Court of Appeals Foy
Third Circuit

NO. 14-1825

United States of America
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Daniel Jenkins

Motion in Opposition’ of ‘the Government's Motion
For Enforcement of Appellate Waiver, and Summary
Affirmance

Now Comes, Petitioner, Daniel Jenkins, in pro se capacity,
in opposition to the Government's Motion to Enforce Appellate Waiver

and Summary Affirmance, and aver the following in support:

(1) Petitioner was indicted on allegations of violating
United States Penal code section 841 (a) and 841 (b) (1) (b),
through a one count indictment based on substance seized in this
case, being, 10 grams or more of a mixture and substance containing
phencyclidine, and, a quanity of a mixture or substance which

contained a particular amount of heroin.

(2) This case resulted in a conviction based on a plea
agreement, Rule 11, which Petitioner initially waived certain

rights; relevant, direct appeal and collateral.

(3) During the plea colloquy a conflict of interest
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inquiry was also held based on Petitioner's counsel's representation

of, both, he and his co-defendant John Edwards.

 

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(4) The Cuurt explained to Petitioner, televant; potential

 

conflicts of interest that may arise, in pertinent part, that
Petitioner would unlikely be able to receive a benefit of a
reduced sentence based on cooperation if he decided to allow his

counsel, Michael Gilberti, to continue representation of, both,

he and Edwards.

(5) Based on the Court's and Gilberti's contention,
Petitioner was lead to believe that the same applied to Edwards
Pleading as well. However, it appears that, Edwards, contrary to
the Court's and Gilberti's initial contention, did receive a
benefit partial from the duel representation, as both, Petitioner
and Edwards should have been subject of the penalty incurred for
career offenders. But, Edwards through separate hearings received

a 48 month sentence opposed to Petitioner's 188 month sentence.

(6) The District Court had also explained to Petitioner
that neither the attorney, nor the Government, not even the
Court can foresee the potential conflict of interest based on the
simultaneous representation. However, the direct stipulation
during the plea colloquy was that if Petitioner allows his counsel
to continue representation of, both, he and Edwards, there will
be no benefit of a reduced sentence based on cooperation. Notable

that cooperation is discernable on different levels, and prosecutors

have the discretion in deciding what precise charge shall be made
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or whether to dismiss; SEE: United States v. Armstrong 517 U.S.
456, 464, 116 S.Ct. 1480, 134 L.ED.2d. 687 (1996) (Prosecutors

have broad discretion in enforcing criminal laws); also: United

States wv. Berrigan 482 6 2d.-171 (3d Cir 1973) Cobserving few

subjects are less adapt to judicial review than the exercise 117

 

by the executive of his discretion in deciding when and whether

to institute criminal proceedings, or what precise charge shall be
made, or whether to dismiss a proceeding once brought). However,
once the consideration of a benefit was being offered to Edwards,
contrary to Petitioner based on a type cooperation, Petitioner's
counsel was obligated to terminate his representation of Edwards
based on the conflict of interest that the Court stipulated would
not occur if Petitioner would allow his counsel to continue
representing both he and Edwards. Petitioner was not advised

that if this stipulation was breached that his right to be conflict
free would be subject to judicial review. The Court only advised
Petitioner that if he agree to allow his counsel to continue
representing, both, he and Edwards that he (Petitioner) could not
later raise a conflict of interest claim. Petitioner did not waive,
relinquish, nor abandon his right to appeal the breach of the above
stated stipulation, because it was not known to Petitioner that if
this particular stipulation was breached that the stipulation would
no longer be valid and therefore subject to appeal; SEE: United
States v. Oland 507 U.S. 725, 733, 113 S.ct. 1770, 123 L.ED.2d.508
(1993) quoting: Johnson v. Zerbst 304 U.S. 458 (waiver is the
intentional relinquishment or abandonment of a known right). It has
been longstanding that substance of oral agreements and stipulations

are binding when recited on the record and accepted by a Federal
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District Judge; SEE: Kokkonen v. Guardian Life Inc. Co. 511 U.S.
375, 128, L.ED.2d 391, 114 §.Ct.1673 (1994). Plea bargains are
essentially contracts: See: Mabry v. Johnson 467 U.S. 504, 508,
1045, S.Ct. 2543, 81 L.ED.2d 437 (1984), and oral agreements are
part of the contract; SEE: Uncon Processing COP. v. Atkin 465
U.S. 1038, 79 L.ED.2d. 712, 104 S.Ct. 1316 (1984). A charge of a
breach of a written contract, that was subsequently modified by an
oral agreement presents a purely legal question and goes to the
question of what the contract was. Such a defense goes to the
question of just what, under the law, the contract between the
Government and Petitioner is; SEE: Dairy Queen v. Wood 369 U.S.
469, 8 L.ED.2d.44, 82 S.Ct. 894 (1962). The Supreme Court in,
Puckett v. United States 556 U.S. _—, 129 S.Ct.__—,_- 173 L.ED.2d
266, 2009 U.S. Lexis 2330 (2009), holds that, when consideration
for a contract fails-that is, when one of the exchanged promises
is not kept-the Court does not say that voluntary bilateral consent
of the contract never existed, so that it is automatically and
utterly void, the Court says that the contract was broken; Also
SEE: Foman v. Davis 371 U.S. 178, 9, L.ED.2d .222, 83 S.Ct. 227
(1962) (Federal rules accept the principle that the purpose of
pleading is to facilitate a proper decision on the merit). Here

in this case, at the plea colloquy it was stipulated that because
Petitioner's counsel was representing, both, he and his co-defendant,
that one or the other would not receive a benefit for cooperation

and if Petitioner agreed to the stipulation it would be no need to

appoint separate counsels. Under such a breach Petitioner was not
afforded the opportunity to clarify or enhance the record for his

benefit. For example: Petitioner's co-defendant's proffers could
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have been subjects lodged against Petitioner and Petitioner's
counsel at representing both defendants would have represented

the proffer for his co-defendant benefit. In that sense Petitioner

 

“was Hot given the opportunity to clarity the potential allegations

nor to enhance the record for his own benefit. Then there are
circumstances where counsels are not at the proffers nor know the
totality of the proffer, but, only know of the existance of the
proffer and therefore represent the circumstance for the benefit

of their client. Either way the conflict is something that was
stipulated during the plea colloquy that Petitioner would be free
from. This Court has held, where a defendant does not seek the
reversal of his conviction (i.e., does not seek to withdraw his
guilty plea) but only challenges the validity of his appellate
waiver so that he may appeal his sentence, he is obligated to show
a reasonable probability that the Rule 11 error has precluded him
from understanding that he had a right to appeal and that he had
substantially agreed to give up that right. The reasonable
probability standard is not the same as, and should not be confused
with, a requirement that a defendant prove by a preponderance of
the evidence that but of error things would have been different;
SEE: United States v. Corso 549 £.3d. 921 (3d.Cir.2008); Also

SEE: Government of Virgin Islands v. Zepp 748 £.2d.125, 133 (3d.Cir.
1984) (it was not incumbent upon the defendant to show actual
prejudice, but prejudice may be:presumed from-the surrounding. ,
circumstances). It was an error of the District Court during the
plea colloquy by not advising Petitioner that if their stipulations

concerning the conflict of interest was breached, the agreement

would no longer be valid and therefore would be subject to appeal.
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As well, Petitioner's counsel was ineffective under a conflict of
interest when he continued to represent Edwards knowing that an

agreement had been stipulated that no benefit contrary to the

 

simultaneous representation would proceed under his counsel. (SEE:
Exhibit (1) trans. conflict of interest briefing.) This Court has
established that in determining whether a waiver of appeal is knowing
and voluntary the role of the sentencing judge is critical; SEE:
United States v. Khattak 273 £.3d.557 (3d.Cir.2001), and a waiver

is not valid if it works a miscarriage of justice. The District Court's
error and counsel's ineffectiveness is ripe for review by this Court;
SEE: United States v. Theodoropoulos 866 £.2d.587 (3d.Cir.1988)
{record sufficiently establishes a basis for review); United States

v. Headly 923 F.2d. 1079 (3d Cir. 1990) (exception to the rule that
defendant cannot attack the efficacy of their counsel on direct appeal
where the record is sufficient to allow determination of effective

assistance of counsel).

(7) During sentencing the District Court advised Petitioner
that he could appeal what took place during that juncture. SEE:
Exhibit (2) Appeal stipulation. Petitioner advised his counsel to
appeal and assumed that he had filed the necessary notice. After
Petitioner had discovered that the conflict of interest stipulation
provision had been breached, Petitioner began an attempt inquiry through
counsel concerning the violation. In turn, counsel would not respond
to any of Petitioner's attempt communications. Petitioner then
notified this Court of counsel's negligence, and on, August 10, 2014,

this Court notified Petitioner that it is waiting for the remaining
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case opening form to be filed by Petitioner's counsel, and

that an order was issued to counsel to show cause as to why he

has failed to file required transcript purchase order forms, and

 

appear before the Attorney-Hearing Officer. Counsel still had not
effectuated the necessary litigation and therefore this Court
instructed this pro se submission and notified that Petitioner's
previous motion to dismiss counsel would accompany this motion

to the panel. With this issue presented to this panel and the
Sixth Amendment counsel clause, this Court has addressed a logical
understanding that is applicable to Petitioner's counsel
deliberate negligence; in stating that, (1) if the same lawyer
represented the defendant both at trial and on appeal, it is
unrealistic to expect a lawyer to argue on appeal that his own
performance at trial was ineffective: and (2) resolution of
ineffective assistance of trial often requires consideration

of matters that are outside the record on direct appeal: SEE:
United States v. Derewal 10 £.3d.100 (3d Cir. 1993). Petitioner's
counsel not only breached the conflict of interest stipulation
during the Rule 11 colloquy, once he realized that Petitioner had
discovered the breach, he also defied the Court requirements and
Court order. Petitioner should not be precluded from review
through direct appeal on these issues that are sufficiently
supported by the record violating the Fifth and Sixth Amendment;
SEE: United States v. Theodoropoulos 866F.2da.587 (3d.cir.1988)
(record sufficiently establishes a basis for review); United
States v. Headly 923 F.2d.1079 (3d.cir.1990) (SAME); Kimmelman

Vv. Morrison 477 U.S. 365, 91 L.ED.2d. 305, 106, S.Ct. 2574 (1986)

 
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(Defendants are not barred from vindicating their right to effective
assistance of counsel); Burger v. Kemp 483 U.S. 776, 794, 107 S.ct.

3114, 97 L.ED.2d 638 (1983) (court address not what is prudent,

 

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Conclusion

Based on the error of the District Court and the conflict
of interest stipulation being a predicate of the same error,

aggravated by the ineffectiveness of counsel that is supported by

the record, the appellate waiver should not be enforced.

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lawyer. Is that correct? |
A Yes.

Q And you are supposedly before me today to plead guilty to
this charge of conspiring with other people to distribute and
possess with intent to distribute controlled dangerous
substances as set out, in the Indictment 13-341. Ts that why
you're here today?

A Yes.

Q Now, before we proceed further, do you understand that you
as a criminal defendant in a case such as this are entitled to
have the benefit of advice and counsel given to you by a lawyer
who is only loyal to you?

Do you understand that?
A Yes, sir.
Q In other words, you’re entitled to the benefit of a lawyer
who would put your interests first before the interest of
anybody else.
A Yes.

Q Including any co-defendant in this case.
Do you understand that?

A Yes.

Q And do you know that Mr. Gilberti also represents John
Edwards, who the Government alleges is a co-conspirator to thi
crime?

A Yes, sir.

 

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Q What?
A Yes.

O And do you further understand that your interest might be
different from the interests of Mr. Edwards and anybody else
with regard to this case, and particularly with regard to the
sentencing?

A Yes.

Q You know that?

A Yes.

Q Now, do you understand that therefore the defenses that you
may have might conflict with any defenses that Edwards or
anybody else may have with regard to the defense of this case?
A Yes.

Q You know what I mean by "conflict"? They might clash
against each other. Do you understand that?

A Yes .

QO And if there is a conflict between what you are trying to
defend yourself with and what Edwards is trying to defend
himself with, or anybody else, Mr. Gilberti might not be able
to do -- defend you as well as you are entitled to. You
understand that?

A Yes.

Q And if he continues to represent you, it might be difficult
for you to cooperate with the Government if you so wished to do

so. Do you understand that?

 

 

 

WALTER J. PERELLI, C.S.R., OFFICIAL COURT REPORTER, NEWARK, Nd

 
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A Yes.
Q Do you further understand that if you cooperate with the
Government, you may be able to receive a reduced sentence; that
is, a sentence below what you and the Government agreed is
reasonable under the terms of a plea bargain.

Do you understand that?
A Yes.
Q Now, whether you get it or not is not up to the Government,
it’s up to the judge.

Do you understand that?
A Yes.
Q And do you also understand that having one attorney
representing you and your co-defendant, it may be unlikely that
you will be able to receive a benefit of cooperation; that is,
a reduced sentence?

Do you understand that?
A Yes’.
0 Neither you nor your attorney, nor the Government, not even
the Court can foresee all the conflicts that my arise by the
fact that you and Edwards have the same attorney.

Do you know that?
A Yes.
Q And have you agreed -- or strike that -- have you discussed
with Mr. Gilberti the potential conflicts of interest in this

case?

 

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A Yes.
QO And do you also know that you have a right to talk with and
consult with and get the advice from somebody else who is
different from Mr. Gilbertj as a lawyer to determine whether
you should have Mr. Gilberti represent you?
A Yes.
Q You know all that?
A Yes; sir.
Q And do you realize, or do you know that I, just tell like
Judge Shwartz, I will give you an Opportunity, if you wish such
an opportunity, to speak to another attorney about the
potential conflicts of interest or any concern you may have
about Mr. Gilberti continuing to represent you and Edwards
Simultaneously.

Do you know that?
A Yes.
Q Do you wish that?
A No, Sir.
QO You're sure?
A Yes.
Q Have you had enough time to think this matter over?
A Yes.
Q And you know what you're doing?
A Yes, sir.

QO Do you realize that even if you cannot afford to hire your

 

 

 

 

 

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1 own attorney, that I will appoint an attorney to consult with
2 you about this conflict of interest?
3 Do you understand that?
4 A Yes,
S Q Have you spoken to anybody else? Have you ever spoken to
6 any other attorney about this conflict of interest?
7 A No, sir.
8 Q Do you want to speak to somebody else? I mean, when I say
9 "somebody else," I mean another lawyer.
10 A No, sir.
11 Q You’ re sure?
12 A Yes.
13 Q And you've had enough time to consider this issue?
14 A Yes.
15 Q Are you satisfied with the way Mr. Gilberti has represented
16 you so far?
17 A Yes,
18 QO Do you still want to proceed with him as your attorney,
» 19 even though he represents Edwards as well?
: 20 A Yes, sir.
21 Q Now, do you understand you’re giving up your right to have
i 22 legal representation free from any conflict of interest? Do
23 you know that?
24 A Yes.
25 Q Has anyone promised you anything to have you take this
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1B:

as approved by the United States Probation Office. You are to
abide by the rules of any such program and remain in treatment
until you've satisfactorily discharged by the Court.

You don't have the ability to pay a fine; I so make
that determination, and I will waive the fine in this matter.
But you are ordered to pay to the Court a total special
assessment of $100.00, which is due immediately.

You have the right to appeal what I've done pursuant
to Section 3742 of Title 18 United States Code, and if you're
not able to pay you may request the Clerk of the Court to file
a Notice of Appeal on your behalf.

I recommend that the Bureau of Prisons designate a
facility for service of this sentence as near as possible to
your home address.

Anything else?

MR. GILBERTI: Yes, your Honor. We'd ask that you
recommend to the Bureau of Prisons --

THE COURT: Come up.

MR. GILBERTI: I'm sorry.

THE COURT: You ask what?

MR. GILBERTI: We ask that you recommend to the Bureau
of Prisons that he be assigned to the Residential Drug Abuse
Program, the 500-hour comprehensive program in the Bureau of
Prisons. He needs a judge's recommendation to be --

THE COURT: He has that recommendation.

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